         Case 1:20-cr-10111-RWZ Document 299 Filed 03/13/23 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                                                       )
UNITED STATES OF AMERICA,                              )
                                                       )
         v.                                            )
                                                       )   Case No. 20-cr-10111-RWZ
 CHARLES LIEBER,                                       )
                                                       )
                          Defendant.                   )
                                                       )

              DEFENDANT CHARLIES LIEBER’S ASSENTED-TO MOTION TO
                         CONTINUE SENTENCING DATE

        PLEASE TAKE NOTICE that pursuant to the Federal Rules of Criminal Procedure

Rule 32(e)(2), Defendant Charles Lieber respectfully moves to continue his sentencing to April

13, 2023, or such other date thereafter that the Court and Probation can accommodate.

        1.        Professor Lieber remains on conditions of release under the supervision of Pre-

Trial Services.

        2.        On February 16, 2023, Lieber’s sentencing was scheduled for March 28, 2023.

ECF 297.

        3.        On the evening of March 2, 2023, 26 days before sentencing. the U.S. Probation

Office released its first draft Pre-Sentence Report.

        4.        Under Fed. R. Crim. P. 32(e)(2), the probation officer must give the presentence

report to the defendant, the defendant’s attorney, and an attorney for the government at least 35

days before sentencing unless the defendant waives this minimum period. There was no waiver

here.
        Case 1:20-cr-10111-RWZ Document 299 Filed 03/13/23 Page 2 of 3




       5.      Adjournment of the sentencing until April 13, 2023 is necessary to allow a

thorough review of the Pre-Sentence report, preparation of objections thereto, and preparation of

a Memorandum of Law in advance of Professor Lieber’s sentencing.

       The government consents to this request.

Dated: New York, New York
       March 13, 2023                          By:    /s/ Torrey K. Young
                                                     Torrey K. Young (BBO #682550)
                                                     Marc L. Mukasey (admitted pro hac vice)
                                                     Stephanie Guaba (admitted pro hac vice)

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                                                     570 Lexington Avenue, Suite 3500
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         Case 1:20-cr-10111-RWZ Document 299 Filed 03/13/23 Page 3 of 3




              CERTIFICATION OF LOCAL RULE 7.1(a)(2) AND SERVICE

        Counsel for the government assents to this Motion. I hereby certify that on March 13,
2023, this document was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of the
Court’s electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.

Dated: New York, New York
       March 13, 2023
                                                       /s/ Torrey K. Young
                                                      Torrey K. Young
